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                    IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         WEST PALM BEACH DIVISION

                    Case No. 9:17-CV-80495- MARRA-MATTHEWMAN

  CONSUMER FINANCIAL PROTECTION BUREAU,
      Plaintiff,

  vs.

  OCWEN FINANCIAL CORPORATION,
  OCWEN MORTGAGE SERVICING, INC.,
  OCWEN LOAN SERVICING, LLC, and
  PHH MORTGAGE CORP.
       Defendants.

  ____________________________________/

                   NOTICE OF WITHDRAWAL OF APPEARANCE

        Pursuant to Local Rule 11.1(d)(3)(B), Lawrence DeMille-Wagman withdraws his

  appearance as counsel for plaintiff Consumer Financial Protection Bureau (Bureau) in

  the above-captioned matter. Attorneys Jean Marie Healey and Atur Ravi Desai, who

  have already entered their appearances on the Bureau’s behalf, will continue to

  represent the Bureau in this matter.

  Dated: March 17, 2022             Respectfully submitted,

                                    Attorney for Plaintiff
                                    CONSUMER FINANCIAL PROTECTION BUREAU

                                    /s/ Lawrence DeMille-Wagman
                                    Lawrence DeMille-Wagman
                                    Phone: 202-435-7957
                                    E-mail: Lawrence.DeMille-Wagman@cfpb.gov
                                    Consumer Financial Protection Bureau
                                    1700 G Street, N.W.
                                    Washington, D.C. 20552
